UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAMIRA SIERRA, AMALI SIERRA, RICARDO
NIGAGLIONI, ALEX GUTIERREZ, and
CHARLES HENRY WOOD, on behalf of
themselves and all others similarly situated,

                              Plaintiffs,

           -against-
                                                      20-CV-10291 (CM)(GWG)
CITY OF NEW YORK, a municipal entity; and             20-CV-10541 (CM)(GWG)
BILL DE BLASIO, TERENCE A. MONAHAN,
KENNETH LEHR, ROBERT GALLITELLI,
HARRY WEDIN, JOHN D’ADAMO, GERARD
DOWLING, JULIO DELGADO, KENNETH
RICE, THOMAS GARGUILO, JOHN
MIGLIACCIO, THOMAS MOSHER,

                              Defendants.




  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED
    MOTION FOR PRELIMINARY APPROVAL OF PROPOSED CLASS
SETTLEMENT, CERTIFICATION OF CLASS AND APPOINTMENT OF CLASS
  COUNSEL FOR SETTLEMENT PURPOSES, APPROVAL OF PROPOSED
 CLASS NOTICE AND ADMINISTRATION PROCESS, AND APPOINTMENT
                  OF CLAIMS ADMINISTRATOR




      Kaufman Lieb Lebowitz & Frick LLP         Hamilton Clarke, LLP
      18 E. 48th Street, Suite 802              48 Wall Street, Suite 1100
      New York, New York 10017                  New York, NY 10005

      Michael L. Spiegel, Esq.                  Rickner PLLC
      48 Wall Street, Suite 1100                14 Wall Street, Suite 1603
      New York, New York 10005                  New York, New York 10005
                                             TABLE OF CONTENTS

TABLE OF CONTENTS .................................................................................. i

TABLE OF AUTHORITIES .......................................................................... iii

INTRODUCTION ......................................................................................... 1

  I.        FACTUAL AND PROCEDURAL BACKGROUND ............................................... 2

       A.      The Sierra-Wood Action ................................................................................... 2

       B.      Investigation, Discovery, and Settlement Negotiations ................................... 3

  II.       SUMMARY OF PRINCIPAL SETTLEMENT TERMS ......................................... 4

       A.      Proposed Settlement Class Definition .............................................................. 4

       B.      Proposed Payments to Class Members ............................................................. 4

       C.      Proposed Process for Providing Notice to Class Members .............................. 5

  III.      THE COURT SHOULD PRELIMINARILY APPROVE THE PROPOSED
            SETTLEMENT ...................................................................................................... 6

       A.      Continued Litigation Would Be Complex, Expensive, and Lengthy
                 (Factor 1) ..................................................................................................... 8

       B.      The Reaction of the Class to the Settlement Has Been Positive
                 (Factor 2) ...................................................................................................... 9

       C.      Discovery Has Advanced Far Enough to Allow the Parties to Resolve the Case
                 Responsibly (Factor 3).................................................................................. 9

       D.      Plaintiffs Would Face Real Risks if the Case Proceeded (Factors 4 and 5) ... 10

       E.      Maintaining the Class Through Trial Would Not Be Simple (Factor 6) ......... 11

       F.      Defendants Could Conceivably Withstand a Greater Judgment, But This Fact
                 Alone Does not Weigh Against Approval (Factor 7) .................................. 12

       G.      The Settlement Is Substantial, Even in Light of the Best Possible Recovery
                 and the Attendant Risks of Litigation (Factors 8 and 9) ........................... 12

  IV.       THE COURT SHOULD CONDITIONALLY CERTIFY THE PROPOSED CLASS
            PURSUANT TO RULE 23(E) ............................................................................. 13

       A.      The Proposed Class Satisfies the Rule 23(a) Factors ..................................... 14


                                                                i
     B.      The Proposed Class Satisfies the Rule 23(b)(3) Factors .................................17

V.        PLAINTIFFS’ COUNSEL SHOULD BE APPPOINTED AS CLASS COUNSEL . 18

VI.       THE PROPOSED PROCESS FOR NOTIFYING THE CLASS, RECEIVING
          CLAIM FORMS, AND DISTRIBUTING PAYMENTS TO ELIGIBLE CLASS
          MEMBERS IS FAIR AND REASONABLE ......................................................... 19

VII.      THE PROPOSED CLAIMS ADMINISTRATOR IS ADEQUATE ....................... 21

CONCLUSION ............................................................................................................... 22




                                                           ii
                                        TABLE OF AUTHORITIES

CASES

Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52 (2d Cir. 2000) ............. 19

Black Lives Matter Los Angeles v. City of Los Angeles,
  No. 20 Civ. 5027 (C.D. Cal. Oct. 3, 2022)...................................................................... 15

Brown v. Kelly, 244 F.R.D. 222 (S.D.N.Y. 2007) ............................................................. 15

City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974) ...................................... 7, 8

Clark v. Ecolab Inc., Nos. 07 Civ. 8623, 04 Civ. 4488, 06 Civ. 5672,
  2009 WL 6615729 (S.D.N.Y. Nov. 27, 2009) .............................................................. 6, 7

Cordes & Co. Fin. Serv., Inc. v. A.G. Edwards & Sons, Inc.,
  502 F.3d 91 (2d Cir. 2007)............................................................................................. 17

County of Suffolk v. Long Island Lighting Co.,
  710 F. Supp. 1422 (E.D.N.Y. 1989) ................................................................................ 13

Felix v. Northstar Location Servs., LLC, 290 F.R.D. 397 (W.D.N.Y. 2013) ...................... 7

Frank v. Eastman Kodak Co., 228 F.R.D. 184 (W.D.N.Y. 2005) ............................... 12, 13

In re Austrian & German Bank Holocaust Litig.,
  80 F. Supp. 2d 164 (S.D.N.Y. 2000) .......................................................................... 8, 10

In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29 (2d Cir.2009) ...................... 16

In re Michael Milken & Assocs. Sec. Litig., 150 F.R.D. 57 (S.D.N.Y. 1993) ..................... 19

In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493 (S.D.N.Y. 1996) .......... 18

In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104 (S.D.N.Y. 1997) ........................... 10

In re Traffic Exec. Ass’n-E. R.Rs., 627 F.2d 631 (2d Cir. 1980) ......................................... 7

In re Warfarin Sodium Antitrust Litig., 391 F.3d 516 (3d Cir. 2004) ............................. 10

In re WorldCom, Inc. Sec. Litig., 219 F.R.D. 267 (S.D.N.Y. 2003) .................................. 14

Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169 (S.D.N.Y. 2014) ......................................... 7

MacNamara v. City of New York, 275 F.R.D. 125 (S.D.N.Y. 2011). .......... 14, 15, 16, 17, 18

Martens v. Smith Barney, Inc., 181 F.R.D. 243 (S.D.N.Y. 1998) ....................................... 9

Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072 (2d Cir. 1995)....................... 6

                                                            iii
McBean v. City of New York, 233 F.R.D. 377 (S.D.N.Y. 2006) ....................................... 12

Reade-Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26 (E.D.N.Y. 2006) ....... 14

Robidoux v. Celani, 987 F.2d 931 (2d Cir. 1993) .............................................................. 16

Velez v. Majik Cleaning Serv., Inc., No. 03 Civ. 8698, 2007 WL 7232783 (S.D.N.Y.
  June 25, 2007) ................................................................................................................ 11

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011) ...................................................... 15

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96 (2d Cir. 2005) ............................. 6

RULES

Fed. R. Civ. P. 23(a) ...................................................................................................... 16, 17

Fed. R. Civ. P. 23(b) ...........................................................................................................20

Fed. R. Civ. P. 23(g) ........................................................................................................... 21

TREATISES

Herbert B. Newberg & Alba Conte, Newberg on Class Actions, § 13:3 ............................ 13




                                                                iv
                                        INTRODUCTION

        After years of hard-fought litigation, the Named Plaintiffs,1 individually and on

behalf of the class they seek to represent (collectively “Plaintiffs”), and the City of New

York and the individual NYPD Defendants (collectively “Defendants”) have reached a

settlement agreement in this class action that will compensate the approximately 320

people who were arrested, detained, and/or subjected to force by police officers on June

4, 2020 at the “George Floyd Protest” in the Mott Haven neighborhood of the Bronx,

and all persons who were given a summons or Desk Appearance Ticket (“DAT”)

following their arrest there. Specifically, Defendants will pay each eligible class member

$21,500, an additional $2,500 to each class member who was given a Desk Appearance

Ticket, and a $21,500 service award to each Named Plaintiff.

        Because this proposed settlement satisfies all of the criteria for preliminary

approval, Plaintiffs respectfully request that the Court (1) preliminarily approve the

proposed settlement terms as reflected in the parties’ Stipulation of Settlement and

Order (“Agreement”); (2) conditionally certify the proposed class for settlement

purposes pursuant to Fed. R. Civ. P. 23(c) and 23(e); (3) appoint Hamilton Clarke, LLP;

Kaufman Lieb Lebowitz & Frick LLP; Rickner PLLC; and Michael L. Spiegel, Esq.

(collectively, “Plaintiffs’ Counsel”) as Class Counsel; (4) approve the proposed class

settlement notice procedure as reflected in the Agreement; and (5) appoint Rust

Consulting, Inc. as Class Administrator. The Stipulation of Settlement and Order

(referred to herein as “Settlement Agreement” or “Agreement”), with the proposed class




        1The Named Plaintiffs are Samira Sierra, Amali Sierra, Ricardo Nigaglioni, Alex Gutierrez, and
Charles Henry Wood.

                                                    1
notices and claims form attached, is attached as Exhibit 1 to the accompanying

Declaration of Alison Frick.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       A.      The Sierra-Wood Action

       In the consolidated Sierra-Wood action,2 Plaintiffs allege that the New York City

Police Department arrested and charged the protestors without probable cause and

subjected them to excessive force, as part of a planned police action involving some of

the most senior members of the NYPD. In total, over 320 people were arrested at the

protest. The Consolidated Amended Class Action Complaint, Dkt. #741, alleges, among

other things, that Defendants violated class members’ Fourth Amendment rights by

arresting them without probable cause and by using excessive force to do so; violated

class members’ First Amendment right to freedom of expression by retaliating against

them for their political speech; and violated class members’ Fourteenth Amendment

rights by denying them equal protection of the laws. Plaintiffs also raise state-law claims

for false arrest, assault and battery, denial of medical care, infliction of emotional

distress, negligent hiring, training, and supervision, and disciplining subordinates, and

excessive detention. (The claims of class members are referred to collectively in this

brief as “the Class Claims”). The Complaint seeks money damages only and does not

make a demand for injunctive relief.




        2 The Sierra case, 20 Civ. 10291, and the Wood case, 20 Civ. 10541, were consolidated for all

purposes by Order of the Court dated September 15, 2022, Dkt. #740. (All Docket Numbers referenced
herein are to the docket in In re New York City Policing During Summer 2020 Demonstrations, No. 20
Civ. 8924.)

                                                   2
       B.     Investigation, Discovery, and Settlement Negotiations

       The Sierra and Wood cases were brought in late 2020. For purposes of discovery,

the Court eventually consolidated them with other related cases (the “Consolidated

Cases”). Consistent with the Court’s consolidation order, the plaintiffs in the

Consolidated Cases coordinated and collaborated in taking discovery. Frick Decl. ¶¶ 5-7.

       Given the breadth of the consolidated actions and the number of parties,

discovery in the Consolidated Cases has been complex, lengthy, and hard-fought. To

date, Defendants have produced hundreds of thousands of documents, including

thousands of hours of videos and audio recordings. Id. ¶ 5.

       By reviewing and sorting through the mass of discovery (which related to protests

over an eight-month period), the Sierra-Wood Plaintiffs were able to identify the

approximately 320 people who were arrested at the Mott Haven protest on June 4,

2020, the NYPD Chiefs in command of that police operation, and an understanding of

how the operation was carried out. Id. ¶ 8.

       The Sierra-Wood Named Plaintiffs responded to Defendants’ discovery requests

and were all deposed in 2021, and Wood and Sierra Plaintiffs’ Counsel participated in at

least another 18 depositions of NYPD officers and defendants. Id. ¶ 9. Wood and Sierra

Plaintiffs’ Counsel filed several motions to compel discovery that were granted, took

depositions, and prepared for many depositions that were scheduled to take place in

2021-22, but, because of ongoing discovery disputes, were delayed and/or were

adjourned as a result of a stay for settlement discussions. Id. ¶ 10. Wood and Sierra

counsel were actively preparing for depositions of high-level NYPD officials in the fall of

2022 until the parties reached an agreement in early December 2022. Id.



                                              3
       In response to requests by the Defendants, the Sierra-Wood Plaintiffs provided

settlement demands in December 2021 and April 2022, but actual settlement

negotiations commenced with a mediation session in September 2022 (assisted by

Rebecca Price, the Director of the Court’s Alternative Dispute Resolution Program). The

parties continued direct settlement negotiations over the following months (without the

assistance of Ms. Price), until finally agreeing upon the key terms of the settlement on

December 2, 2022. Id. ¶¶ 11-17. On December 16, 2022, this Court granted the parties’

requested schedule for submitting this motion, the proposed Stipulation of Settlement

and Order, and related class documents. Dkt. #786.

II.    SUMMARY OF PRINCIPAL SETTLEMENT TERMS

       The Agreement provides significant compensation to hundreds of protestors

subjected to arrest and/or police force.

       A.     Proposed Settlement Class Definition

       The proposed Settlement Class is defined as all persons who were detained,

arrested, and/or subjected to force by police officers on June 4, 2020, on East 136th

Street between Brook Avenue and Brown Place in the Bronx during the “George Floyd

protest” in Mott Haven, and all persons who were given a summons or Desk Appearance

Ticket following their arrest at that location. Those who have already settled claims

arising out of the events on June 4, 2020 are excluded from the proposed Agreement.

Agr. ¶¶ 32-33.

       B.     Proposed Payments to Class Members

       Under the Agreement, all eligible class members who submit timely Claim Forms

will each receive $21,500. Agr. ¶ 40. In addition, those class members who were issued

Desk Appearance Tickets (“DATs”) will receive an additional $2,500, for a total of

                                            4
$24,000, as those class members were subjected to fingerprinting, photographing, and a

criminal history check (resulting in an open criminal case record until dismissal), and

were generally detained for at least several more hours than those who received only a

Summons. Id. The Agreement also provides for supplemental service award payments of

$21,500 to each of the Named Plaintiffs for their efforts in bringing and maintaining this

action, subject to Court approval. Agr. ¶ 41.

       C.     Proposed Process for Providing Notice to Class Members

       The parties have agreed to provide notice to the Class in three forms. First, a

“Claims Package” will be mailed to every known Class Member. Agr. ¶¶ 49, 56. The

Claims Package consists of a Class Notice, attached to the Agreement as Exhibit A, and a

Claim Form, attached to the Agreement as Exhibit C. Id. ¶ 11. As noted below, the

Claims Administrator will translate the Claims Package into Spanish (which the parties

will review for accuracy), and both the English and Spanish language versions of the

Claims Package will be transmitted together to every class member. Id. ¶ 49. Second, a

Class Notice Summary, attached to the Agreement as Exhibit B, will be published in The

Daily News and El Diario in English and Spanish three times within the same three-

week period. Id. ¶ 37. Third, a website will be established where Class Members can

review the terms of the proposed Settlement, submit a Claim Form, and submit

questions about this lawsuit.

       The schedule for providing Notice to the Class and deadlines for administering

the proposed settlement are set forth in the Settlement Schedule. Id. ¶ 4.

       D.     Attorneys’ Fees and Costs

       Finally, the City will pay Plaintiffs’ reasonable attorneys’ fees and costs. Agr. ¶ 81.

The parties agree that they will attempt to settle the amount of fees and costs incurred

                                                5
up to and including the date of the Agreement and for those fees and costs that are

reasonably likely to be incurred through the date of the Final Approval hearing;

Plaintiffs will move this Court for approval of their attorneys’ fees and costs, pursuant to

Federal Rule of Civil Procedure 23(h) and 54(d)(2), simultaneously with their Motion

for Final Approval of the Settlement. Plaintiffs intend to seek $2,550,000 for the

reasonable attorneys’ fees and costs incurred to date,3 plus all additional reasonable fees

and costs incurred subsequent to this motion. Frick Decl. ¶¶ 27.

III.    THE COURT SHOULD PRELIMINARILY APPROVE THE PROPOSED
        SETTLEMENT

        Preliminary approval of this settlement is appropriate, especially given the

“strong judicial policy in favor of settlements, particularly in the class action context.”

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005). Approval of a

class action settlement is a matter of discretion, see Maywalt v. Parker & Parsley

Petroleum Co., 67 F.3d 1072, 1078 (2d Cir. 1995), with “proper deference” given “to the

private consensual decision of the parties,” Clark v. Ecolab Inc., Nos. 07 Civ. 8623, 04

Civ. 4488, 06 Civ. 5672, 2009 WL 6615729, at *3 (S.D.N.Y. Nov. 27, 2009) (internal

quotation marks and citations omitted). Courts considering a proposed class action

settlement “should keep in mind the unique ability of class and defense counsel to assess

the potential risks and rewards of litigation . . . .” Id.

        Preliminary approval of a proposed class settlement “requires only an initial

evaluation of the fairness of the proposed settlement on the basis of written submissions




         3 Each of Plaintiffs’ attorneys kept contemporaneous time records throughout his/her work on

this case. This figure represents the sum of each attorney’s hours spent on this matter to date, multiplied
by that attorney’s regular hourly rate, plus the reasonable costs each attorney has incurred (for example,
for deposition transcripts).

                                                     6
and an informal presentation by the settling parties.” Lizondro-Garcia v. Kefi LLC, 300

F.R.D. 169, 179 (S.D.N.Y. 2014). Granting preliminary approval is “at most a

determination that there is what might be termed ‘probable cause’ to submit the

proposal to class members and hold a full-scale hearing as to its fairness.” In re Traffic

Exec. Ass’n-E. R.Rs., 627 F.2d 631, 634 (2d Cir. 1980). “A proposed settlement of a class

action should therefore be preliminarily approved where it appears to be the product of

serious, informed, non-collusive negotiations, has no obvious deficiencies, does not

improperly grant preferential treatment to class representatives or segments of the class

and falls within the range of possible approval.” Felix v. Northstar Location Servs., LLC,

290 F.R.D. 397, 407 (W.D.N.Y. 2013) (internal quotation marks omitted).

       The proposed settlement here is fair, reasonable, and adequate and should be

preliminarily approved. In evaluating the fairness of a proposed class action settlement,

courts in the Second Circuit generally consider the nine factors set forth in City of

Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds

by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). The Grinnell factors

are:

       (1) the complexity, expense, and likely duration of the litigation;
       (2) the reaction of the class to the settlement;
       (3) the stage of the proceedings and the amount of discovery completed;
       (4) the risks of establishing liability;
       (5) the risks of establishing damages;
       (6) the risks of maintaining the class action through the trial;
       (7) the ability of the defendants to withstand a greater judgment;
       (8) the range of reasonableness of the settlement fund in light of the best possible
           recovery; and
       (9) the range of reasonableness of the settlement fund to a possible recovery in
           light of all the attendant risks of litigation.

Grinnell, 495 F.2d at 463. These factors all weigh in favor of the granting preliminary

approval to the Agreement.

                                             7
       A.     Continued Litigation Would Be Complex, Expensive, and
              Lengthy (Factor 1).

       By reaching a favorable settlement prior to dispositive motions or trial, Plaintiffs

seek to avoid significant expense and delay and ensure recovery for the class. “Most

class actions are inherently complex and settlement avoids the costs, delays and

multitude of other problems associated with them.” In re Austrian & German Bank

Holocaust Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000), aff’d sub nom. D’Amato v.

Deutsche Bank, 236 F.3d 78 (2d Cir. 2001).

       There is no question that litigating this case through trial would be complicated

and time-consuming. Completing discovery for this case would require the Sierra-Wood

plaintiffs to take more than a dozen additional depositions of high-level NYPD officials,

including but not limited to, former NYPD Chief of Department Terence Monahan and

current or former Chiefs Kenneth Lehr, Harry Wedin, John D’Adamo, and Gerard

Dowling. Preparing for and taking those depositions would require hundreds of hours of

attorney time. There is also additional paper discovery that would need to be completed

if this case is not resolved by settlement.

       Absent settlement, Plaintiffs would need to litigate the issue of class certification

(Plaintiffs’ motion would be due by the end of next month, pursuant to Court order)

and, most likely, prepare a summary judgment motion on a significant number of claims

or elements of claims. Thus, by settling now, the Parties avoid protracted motion

practice and save the Court the task of reviewing and deciding these sequential motions.

Moreover, given that this case could not be fully resolved through summary judgment, a

full jury trial would be necessary—another burden on the Court and the Parties that

settlement avoids.


                                              8
       Settlement avoids the time and costs of numerous additional depositions, further

paper discovery, disputed motions for class certification and summary judgment, and

trial. Significantly, it also avoids years of delay in obtaining compensation for class

members. Thus, the first Grinnell factor weighs strongly in favor of approval.

       B.     The Reaction of the Class to the Settlement Has Been Positive
              (Factor 2).

       Because notice of the settlement has not yet been issued to the class, the Court

can and should more fully consider this factor after notice is sent and class members are

given the opportunity to respond to it. Still, at this stage, the five Named Plaintiffs have

all expressed their approval of the settlement and, given the size of the awards, there is

likely to be a positive reaction from the class. This factor, too, weighs in favor of

approval.

       C.     Discovery Has Advanced Far Enough to Allow the Parties to
              Resolve the Case Responsibly (Factor 3).

       The parties have completed enough discovery to recommend settlement.

“Because much of the point of settling is to avoid litigation expenses such as full

discovery, it would be inconsistent with the salutary purposes of settlement to find that

extensive pre-trial discovery is a prerequisite to approval of a settlement.” Martens v.

Smith Barney, Inc., 181 F.R.D. 243, 263 (S.D.N.Y. 1998) (internal quotation marks and

citations omitted). The proper question is “whether counsel had an adequate

appreciation of the merits of the case before negotiating.” In re Warfarin Sodium

Antitrust Litig., 391 F.3d 516, 537 (3d Cir. 2004) (internal quotation marks omitted).

“[T]he pretrial negotiations and discovery must be sufficiently adversarial that they are

not designed to justify a settlement . . . [, but] an aggressive effort to ferret out facts




                                               9
helpful to the prosecution of the suit.” In re Austrian, 80 F. Supp. 2d at 176 (internal

quotation marks and citation omitted).

       Discovery to date easily meets this standard. This Court is fully aware of how

hard-fought discovery has been to date, with dozens of discovery disputes coming before

the Court for resolution. Plaintiffs’ Counsel have sifted through thousands of

documents, reviewed hundreds of hours of video and audio recordings (including CCRB

and NYC Department of Investigation interviews of many Defendants), defended the

Named Plaintiffs’ depositions, and taken numerous depositions of NYPD personnel.

Plaintiffs also obtained subpoenaed records from the Bronx District Attorney’s Office.

       After reviewing this discovery, Plaintiffs’ counsel in Sierra and Wood prepared an

amended and consolidated complaint that identified additional appropriate defendants

and withdrew claims against defendants initially named. Defendants did not oppose

that motion.

       This case has been litigated at an expedited pace for more than two years—more

than enough time for the parties to responsibly resolve the case. This factor weighs in

favor of approval.

       D.      Plaintiffs Would Face Real Risks if the Case Proceeded
               (Factors 4 and 5).

       Plaintiffs believe their case is strong. But considerable risks remain if the case

does not settle. “Litigation inherently involves risks.” In re PaineWebber Ltd. P’ships

Litig., 171 F.R.D. 104, 126 (S.D.N.Y. 1997). “The proposed settlement benefits each

plaintiff in that he or she will recover a monetary award immediately, without having to

risk that an outcome unfavorable to the plaintiffs will emerge from a trial.” Velez v.




                                             10
Majik Cleaning Serv., Inc., No. 03 Civ. 8698, 2007 WL 7232783, at *6 (S.D.N.Y.

June 25, 2007).

       A trial on the merits would involve significant risks for Plaintiffs as to both

liability and damages. To prevail on some of their constitutional claims, Plaintiffs would

need to prove that they were singled out for police mistreatment on the basis of their

message (against police brutality) and/or because of their race. They would also need to

overcome Defendants’ insistence that probable cause—and, with respect to the

individual Defendants’ qualified immunity defense, arguable probable cause—existed to

arrest the protestors. Plaintiffs would also have to prove that the use of force against the

protestors was objectively unreasonable, not to mention the other Class Claims—like the

violation of protestors’ First Amendment Rights. Plaintiffs also would need to show that

each of the named Defendants was personally involved in the alleged constitutional

deprivations and that the City was liable as a municipality.

       Even if Plaintiffs succeeded at trial (and on appeal) in proving Defendants’

liability, they would face additional difficulty in proving the full extent of damages.

Given that large per-person settlement figure, it is clear that Plaintiffs would face

substantial risk in leaving the award of damages up to a jury. These factors also weigh in

favor of approval.

       E.     Maintaining the Class Through Trial Would Not Be Simple
              (Factor 6).

       While Plaintiffs are confident that they would obtain certification of the class

under Rule 23, the many other litigations surrounding the Summer 2020 protests mean

that maintaining the class through trial would be complicated, given other cases that

could impinge upon the class. Further, any trial would not occur for another year or


                                             11
more, further complicating efforts to maintain the class (as members may move away or

become harder to find). Risk, expense, and delay permeate the class certification

process. Settlement eliminates these risks, expenses, and delay. This factor favors

preliminary approval.

       F.     Defendants Could Conceivably Withstand a Greater Judgment,
              But This Fact Alone Does Not Weigh Against Approval
              (Factor 7).

       While the City of New York could presumably withstand a judgment greater than

the total class settlement awards, that fact “does not render the settlement unfair,

especially where the other Grinnell factors favor approval.” McBean v. City of New

York, 233 F.R.D. 377, 388 (S.D.N.Y. 2006). Indeed, “fairness does not require that the

City of New York empty its coffers before this Court will approve a settlement.” Id.

       G.     The Settlement Is Substantial, Even in Light of the Best
              Possible Recovery and the Attendant Risks of Litigation
              (Factors 8 and 9).

       The City agreed to pay a significant sum to every class member: $21,500 for each

class member and an additional $2,500 for class members who received DATs. Even

without the DAT enhancement, this settlement award represents a substantial per-

plaintiff settlement amount for a case like this, involving mass arrests and excessive

force, among other things.

       The determination of whether a settlement amount is reasonable “does not

involve the use of a ‘mathematical equation yielding a particularized sum.’” Frank v.

Eastman Kodak Co., 228 F.R.D. 184, 186 (W.D.N.Y. 2005) (quoting In re Austrian, 80

F. Supp. 2d at 178). “Instead, ‘there is a range of reasonableness with respect to a

settlement—a range which recognizes the uncertainties of law and fact in any particular




                                            12
case and the concomitant risks and costs necessarily inherent in taking any litigation to

completion.’” Id. (quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)).

       As this Court is well aware, in this District, Section 1983 and state law claims of

false arrest and excessive force frequently settle in the range of, and oftentimes lower

than, the class settlement awards proposed here. Indeed, some of the otherwise-would-

be-class-members previously settled their claims with the City for amounts less than the

proposed class settlement awards. Frick Decl. ¶ 21. The large per-person settlement

Plaintiffs have achieved weighs strongly in favor of approval.

                                   *      *        *     *

       Because the settlement agreement is, on its face, “‘fair, adequate, and reasonable,

and not a product of collusion,’” Frank, 228 F.R.D. at 184 (quoting Joel A. v. Giuliani,

218 F.3d 132, 138-39 (2d Cir. 2000)), the Court should grant preliminary approval.

IV.    THE COURT SHOULD CONDITIONALLY CERTIFY THE PROPOSED
       CLASS PURSUANT TO RULE 23(e)

       Plaintiffs respectfully request that the Court certify the Proposed Class under

Federal Rule of Civil Procedure 23(e) for purposes of effectuating the settlement. As

discussed below, the Class meets all of the requirements for class certification, and

Defendants do not oppose certification under Rule 23(e). See Herbert B. Newberg &

Alba Conte, Newberg on Class Actions, § 13:3 (“If a class has not yet been certified, the

parties stipulate to the conditional or temporary establishment of settlement classes for

the purposes of the agreement.”); County of Suffolk v. Long Island Lighting Co., 710 F.

Supp. 1422, 1424 (E.D.N.Y. 1989) (“negotiat[ing] a proposed settlement . . . prior to

certification of the class” is appropriate), aff’d in part, rev’d in part on other grounds,

907 F.2d 1295 (2d Cir. 1990).


                                              13
         Under Rule 23(a), a class action may be maintained if all the prongs of Rule 23(a)

are met, as well as one of the prongs of Rule 23(b). In the Second Circuit, “Rule 23 is

given liberal rather than restrictive construction, and courts are to adopt a standard of

flexibility” in evaluating class certification. Reade-Alvarez v. Eltman, Eltman & Cooper,

P.C., 237 F.R.D. 26, 31 (E.D.N.Y. 2006) (quoting Marisol A. v. Giuliani, 126 F.3d 372,

377 (2d Cir. 1997)).

         A.    The Proposed Class Satisfies the Rule 23(a) Factors

         The Proposed Class—all persons who were detained, arrested, and/or subjected

to force by police officers on June 4, 2020, on East 136th Street between Brook Avenue

and Brown Place in the Bronx during the “George Floyd protest” in Mott Haven, and all

persons who were given a summons or Desk Appearance Ticket following their arrest at

that location—satisfies the Rule 23(a) requirements. The class is sufficiently numerous;

questions of law and fact are common to the class; the class representatives’ claims are

typical of those of the class; and there is adequacy of representation. Fed. R. Civ. P.

23(a).

               1.      Numerosity

         The Proposed Class is “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a). “[T]he numerosity analysis begins with the

presumption that a class comprising 40 or more members is generally sufficient.”

MacNamara v. City of New York, 275 F.R.D. 125, 141 (S.D.N.Y. 2011). Here, there were

approximately 320 people detained at East 136th Street during the protest. Frick Decl.

¶¶ 8, 18-21. On information and belief, fewer than 100 proposed class members have

already resolved and released their claims against the City. Id. ¶ 21. And while some

class members have a separate lawsuit pending, “the presence of those actions does not

                                             14
militate against class certification,” In re WorldCom, Inc. Sec. Litig., 219 F.R.D. 267,

305 (S.D.N.Y. 2003), because, for purposes of the Rule 23 analysis, “individuals are

considered class members until they opt out of the suit.” MacNamara, 275 F.R.D. at 141.

Accordingly, the Proposed Class is sufficiently numerous to satisfy Rule 23(a).

              2.     Commonality

       Rule 23(a)(2) requires “questions of law and fact common to the class.” Even a

“single common question” will suffice. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

359 (2011) (cleaned up). The rule “does not require all questions of law or fact be

common to the class,” and, indeed, such a requirement “would be the death knell for

class actions challenging the systemic enforcement of an [unlawful] statute,” an

“unacceptable result.” Brown v. Kelly, 244 F.R.D. 222, 230-31 (S.D.N.Y. 2007),

affirmed in part and vacated in part on other grounds, 609 F.3d 467 (2d Cir. 2010).

       There are numerous factual and legal issues common to the class. Most centrally,

the case is about the NYPD’s response to a specific protest on a specific date in a specific

neighborhood at which all class members were present and experienced the same or

similar conduct. In MacNamara, this court certified subclasses of arrestees from the

Republican National Convention protests under markedly similar circumstances. The

court found that the commonality requirement was met because the mass arrests of

protestors presented common questions of fact and law, including, whether officers

arrested protestors without probable cause, whether officers issued dispersal orders and

provided an opportunity to disperse, and whether officers acted pursuant to an unlawful

policy or practice of indiscriminate mass arrest. MacNamara, 275 F.R.D. at 143. See

also Black Lives Matter Los Angeles v. City of Los Angeles, No. 20 Civ. 5027, Dkt. # 174



                                             15
(C.D. Cal. Oct. 3, 2022) (certifying class of protestors subjected to mass arrest during

first week of Black Lives Matter protests).

              3.     Typicality

       The Named Plaintiffs’ experiences and claims are typical of those in the class.

Here, “each class member’s claim arises from the same course of events”—their

detention, arrest, or experience of police force on East 136th Street between Brook

Avenue and Brown Place on June 4, 2020—“and each class member makes similar legal

arguments to prove the defendant’s liability.” In re Flag Telecom Holdings, Ltd. Sec.

Litig., 574 F.3d 29, 35 (2d Cir.2009). “[T]he same unlawful conduct was directed at or

affected both the named plaintiff[s] and the class sought to be represented.” Robidoux v.

Celani, 987 F.2d 931, 936-37 (2d Cir. 1993). Specifically, each Named Plaintiffs, and all

class members, were subjected to a coordinated police action and the use of excessive

force. The Named Plaintiffs’ claims arise from the same factual and legal circumstances

that form the bases of the Rule 23 Class Members’ claims.

              4.     Adequacy of the Named Plaintiffs

       The Named Plaintiffs have no interests that are “antagonistic to those of the

[]class members,” and “there is no dispute that if the named Plaintiffs prevail, the

putative class members will also benefit, since all were subject to the same allegedly

unconstitutional course of conduct.” MacNamara, 275 F.R.D. at 144. Accordingly, the

Named Plaintiffs—all of whom were present for the Mott Haven protest, marched

peacefully, were subjected to the use of force and arrested, were placed in tight

flexicuffs, were processed at a mass arrest processing center, and were given




                                              16
summonses or desk appearance tickets—are adequate representatives of the proposed

class.4

          B.        The Proposed Class Satisfies the Rule 23(b)(3) Factors

          In addition to satisfying the Rule 23(a) factors, the Proposed Class meets the

more stringent requirements necessary to certify a damages class under Rule 23(b)(3),

which requires that common questions of law or fact “predominate” over individual

matters, and that a class action is “superior to other available methods for fairly and

efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

          First, Plaintiffs can demonstrate that “the issues in the class action that are

subject to generalized proof, and thus applicable to the class as a whole, predominate

over those issues that are subject only to individualized proof.” Cordes & Co. Fin. Serv.,

Inc. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 107–08 (2d Cir. 2007). Like the certified

mass arrest subclasses in MacNamara, common issues predominate over individual

ones in this case, where hundreds of people were arrested at a single location under a

single plan orchestrated by Defendants. Because the Proposed Class comprises

“individuals who were arrested as part of a group based on the alleged conduct of the

group,” and not their individual actions, the Court can find predominance.

MacNamara, 275 F.R.D. at 146. Further, while “assessment of damages may ultimately

require individualized inquiries, that possibility is no bar to class certification here.” Id.

          “[F]actors relevant to the superiority analysis include: the interest of class

members in controlling separate actions; the extent and nature of existing litigation

concerning the controversy; the desirability or undesirability of concentrating litigation



          4   The adequacy of counsel to represent the class is addressed in Section V below.

                                                        17
of the class claims in the particular forum; and the likely difficulties in managing a class

action.” Id. at 148. A class action is certainly the most fair and efficient way of resolving

this case. First, more than two and a half years have passed since the Mott Haven

protest, and the vast majority of putative class members have not filed separate actions.

In addition, “the likely difficulties in managing a class action” are not greater here –

particularly where Plaintiffs seek certification under Rule 23(e) as part of a proposed

money-damages class settlement – than the difficulties of continuing to litigate as one of

the Consolidated Cases, which have presented their own management difficulties.

Indeed, whatever “‘management difficulties’ that might accompany the proposed

certification are certainly no greater than the management difficulties that would

inevitably result from hundreds of separate trials.” Id. “Given the number of class

members injured” by the NYPD’s alleged conduct, “a class action is not only the most

efficient and convenient method to resolve this controversy, it is the only ‘fair’ and

‘efficient’ means to adjudicate this controversy.” In re NASDAQ Market-Makers

Antitrust Litig., 169 F.R.D. 493, 527 (S.D.N.Y. 1996).

V.     PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED AS CLASS
       COUNSEL

       Plaintiffs’ Counsel are appropriate Class Counsel under Rule 23(g), which sets

forth the four criteria for appointing class counsel: (1) “the work counsel has done in

identifying or investigating potential claims in the action”; (2) “counsel’s experience in

handling class actions, other complex litigation, and the types of claims asserted in the

action”; (3) “counsel’s knowledge of the applicable law”; and (4) “the resources that

counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A). The Court




                                              18
may also consider any other matter pertinent to counsel’s ability to fairly and adequately

represent the class. Fed. R. Civ. P. 23(g)(1)(B).

       As further detailed in the attached Declarations of Alison Frick, Josh Moskovitz,

Rob Rickner, and Michael Spiegel, Plaintiffs’ Counsel meet all of these criteria.

Plaintiffs’ Counsel have done substantial work identifying, investigating, prosecuting,

and settling Plaintiffs’ and Class Members’ claims. Plaintiffs’ Counsel have substantial

experience prosecuting and settling civil rights cases and class actions, and they are

well-versed in civil rights and class action practice and are well-qualified to represent

the class. Frick Decl. ¶¶ 28-51; Moskovitz Decl.; Rickner Decl.; Spiegel Decl.

Furthermore, Plaintiffs’ Counsel have successfully and efficiently worked together on

this case for the last two years. Id.

       Plaintiffs’ Counsel are “qualified, experienced, and able to conduct the litigation.”

Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 60 (2d Cir. 2000). The

Court should appoint them as Class Counsel.

VI.    THE PROPOSED PROCESS FOR NOTIFYING THE CLASS,
       RECEIVING CLAIM FORMS, AND DISTRIBUTING PAYMENTS TO
       ELIGIBLE CLASS MEMBERS IS FAIR AND REASONABLE

       The Proposed Notices, attached as Exhibits A and B to the Agreement, comply

with due process and Federal Rule of Civil Procedure 23. The Class Notice that will be

mailed to class members in two languages, and the Class Notice Summary that will be

used in publishing notice also in two languages, contain all the information required by

Rule 23(c)(2)(B). They describe the terms of the settlement, inform the class that

Plaintiffs will seek to recover costs, attorneys’ fees, and service awards from the

Defendants, and provide specific information regarding the date, time, and place of the

final approval hearing. Moreover, the proposed class administration process involves

                                             19
establishing a website, where anyone can easily access the full settlement terms and the

Class Notice, and class members can submit a claim form.

       Courts have approved class notices even when they provided only general

information about a settlement. See In re Michael Milken & Assocs. Sec. Litig., 150

F.R.D. 57, 60 (S.D.N.Y. 1993) (class notice “need only describe the terms of the

settlement generally”). The detailed information in the proposed Notices—and the easily

accessibility of a detailed website—far exceeds this bare minimum and fully complies

with the requirements of Rule 23 (c)(2)(B).

       The Parties have agreed to a clear and comprehensive plan to send out notice to

all class members, provide time for inquiries and claim submission, and timely pay out

all timely legitimate claims. Agr. ¶ 4; see also Frick Decl. ¶¶ 22-27. Specifically, no more

than 30 days after the Preliminary Approval Order is issued, the Claim Package will be

mailed directly to all Class Members at their last known addresses. Agr. ¶¶ 11, 36, 49, 56.

Notice will also be published for several weeks in a row in Spanish and English language

newspapers. Id. ¶ 37. To receive a payment, class members must timely submit a Claim

Form, either by mail or online, by the deadline set by the Court, which the Parties

propose to be 180 days from the date of Preliminary Approval. Id. ¶¶ 4, 5, 59. Those

members wishing to opt out of or object to the settlement will need to do so by the same

deadline. Id. ¶ 71. With help from the Parties, the Claims Administrator will be

responsible for determining who is eligible for payment and calculating class payments.

Id. ¶ 51.

       The Parties propose that Plaintiffs submit their motion for final approval by

October 17, 2023, and that the Fairness Hearing take place on October 24, 2023. The



                                             20
Agreement proposes that the Claims Administrator will begin paying class members 55

days after the Final Approval Order, unless there is an appeal. Id. ¶¶ 4, 43-45.

VII.   PROPOSED CLAIMS ADMINISTRATOR IS ADEQUATE

       The parties have agreed to retain Rust Consulting, Inc. to serve as the Claims

Administrator. Id. ¶ 48. Rust has 30+ years of class action settlement administration

experience and has administered more than 5,200 class action settlements, judgments,

and similar administrative programs. Rust employs a permanent staff of more than 200.

Rust has handled claims administration in matters in this district and involving the City

of New York, including, but not limited to, Stinson v. City of New York, No. 10 Civ. 4228

(RWS) (S.D.N.Y). Attached as Exhibit 2 to the Frick Declaration is a declaration from

then-Senior Vice President of Rust Tiffaney Janowicz, filed in the Stinson case,

explaining Rust’s experience and services.

       The Claims Administrator will: (1) mail the Claims Package, in both English and

Spanish, to Class Members; (2) establish a website where information about the

Settlement will be available to Class Members and where Class Members can submit

Claim Forms; (3) publish the Class Notice summary; (4) respond to questions from

Class Members; (5) review and assess the validity of information in the Claims Forms

submitted by Class Members; (6) calculate the payments to the individual Class

Members consistent with the Agreement; (7) arrange for and distribute checks

containing payments to Class Members; (8) arrange for reversion back to the City of any

amounts from the Total Class Settlement Amount pursuant to the terms of the

Agreement; (9) create a database of Class Members who have filed timely and valid

Claim Forms; (10) create a database of Opt-Outs; (11) deduct any applicable liens from

the claim awards and forward those deductions to the New York City Comptroller or any

                                             21
other relevant agencies; and (12) perform any other duties necessary to fulfill the

foregoing responsibilities and any other responsibilities set forth in the Agreement. Agr.

¶ 49. The costs of Class Administration will be paid by the City of New York. Id. ¶ 48.

                                     CONCLUSION

         Because the Proposed Settlement is fair and reasonable and serves the interests

of the proposed Class, this Court should enter the proposed Stipulation of Settlement

and Order and preliminarily approve the class settlement, conditionally certify the class,

appoint Plaintiffs’ Counsel as Class Counsel, approve the claims administration process,

and approve the appointment of Rust as Claims Administrator.

Dated:         February 28, 2023
               New York, New York

                                                  KAUFMAN LIEB LEBOWITZ
                                                  & FRICK LLP


                                                  Alison Frick
                                                  Douglas E. Lieb
                                                  18 E. 48th Street, Suite 802
                                                  New York, New York 10017
                                                  (212) 660-2332

                                                  Joshua S. Moskovitz
                                                  Lance Clarke
                                                  HAMILTON CLARKE, LLP
                                                  48 Wall Street, Suite 1100
                                                  New York, NY 10005

                                                  Michael L. Spiegel, Esq.
                                                  48 Wall Street, Suite 1100
                                                  New York, New York 10005

                                                  Rob Rickner
                                                  RICKNER PLLC
                                                  14 Wall Street, Suite 1603
                                                  New York, New York 10005

                                                  Attorneys for Plaintiffs

                                             22
